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   Fr o m: Alis o n Fr a n cis c us <afr a n cis c us 8 1 3 @ g m ail. c o m >
   S e nt: T h urs d a y, D e c e m b er 2 1, 2 0 2 3 8: 4 3 A M
   T o: Bri c k er, Mi c h a el <M Bri c k er @ c oj. n et >
   S u bj e ct: R e: Q u es o ns.


    E X T E R N A L E M AI L: T hi s e m ail ori gi n at e d fr o m a
    n o n- C OJ e m ail a d dr e s s. D o n ot cli c k a n y li n k s or
    o p e n a n y att a c h m e nt s u nl e s s y o u tr u st t h e s e n d er
    a n d k n o w t h e c o nt e nt i s s af e.



   G o o d m or ni n g. I w o ul d a p pr e ci at e y o u o utli ni n g t h e
   r e as o ns i n wri n g- t h e s p e ci ﬁ cs o n h o w I a m m a ki n g
   st aﬀ a n d v ol u nt e ers u n c o mf ort a bl e.
   A d di o n all y, i w o ul d a p pr e ci at e it if y o u w o ul d pr o d u c e
   t h e g ui d eli n es f or visi n g t h e s h elt er a n d w h at w o ul d
   c o ns t ut e r e as o ns f or b a n ni n g a ci z e n fr o m t h e p u bli c
   a ni m al s h elt er t o visit t h e d o gs. I h a v e n e v er b e e n
   disr u p v e w h e n visi n g t h e k e n n els. I h a v e n ot e n g a g e d
   v er b all y wit h a n y st a ﬀ or v ol u nt e ers. I visit t h e d o gs,
   pr o vi d e t h e m wit h a p pr o v e d A c ps tr e ats, t h e n e xit t h e
   pr e mis es. W h e n bri n gi n g m y f ost er i n f or m e di c al
   a p p oi nt m e nts, I h a v e s at i n r e c e p o n a n d m a d e n o
   a e m pt t o e n g a g e wit h a n y st a ﬀ or v ol u nt e ers- wit h t h e
   e xc e p o n of st a ﬀ e x a mi ni n g m y f ost er. I a w ait y o ur
   r es p o ns es. T h a n k y o u i n a d v a n c e. R e g ar ds,

                                                                     E X HI BI T 3
                                                                     EXHIBIT     3
